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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

 JASON HERMAN, an individual and on
 behalf of those similarly situated,
 JOEY KRATT, an individual and on
 behalf of those similarly situated, and
 CHRISTINA LANCASTER, an individual
 and on behalf of those similarly
 situated,

        Plaintiffs,

 v.                                                   Case No: 8:14-cv-3028-T-35JSS

 SEAWORLD PARKS &
 ENTERTAINMENT, INC.,

        Defendant.


       ORDER GRANTING PLAINTIFFS’ MOTION FOR FINAL APPROVAL AND
      PLAINTIFFS’ MOTION FOR ATTORNEYS’ FEES AND COSTS AND SERVICE
                    AWARDS TO CLASS REPRESENTATIVES

        THIS CAUSE comes before the Court for consideration of Plaintiffs’ Motion for

 Attorneys’ Fees and Costs and Service Awards to Class Representatives, (Dkt. 199), and

 Plaintiffs’ Motion for Final Approval of Settlement Agreement. (Dkt. 207) On December

 14, 2018, the Court granted Plaintiff’s Motion for Preliminary Approval of Class Action

 Settlement. (Dkt. 195)

        On April 11, 2019 Plaintiffs filed a Motion for Final Approval of Settlement

 Agreement, (Dkt. 207), and on April 18, 2019, the Court held a Final Approval Hearing

 concerning the Motion. (Dkt. 198) The Court reviewed: (a) the Motion and the supporting

 papers, including the Settlement Agreement and Release (“Agreement” or “Settlement”),

 (Dkt. 207-1); (b) the Motion for Attorneys’ Fees and Costs and Service Awards to Class


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 Representatives Jason Herman, Joey Kratt, and Christina Lancaster (hereinafter,

 “Named Plaintiffs”), (Dkt. 199); and (c) summations by counsel. There were no objections

 to the Settlement. Based on this review and the findings below, the Court finds good

 cause to grant the motion.


 FINDINGS:

        1.     Unless otherwise specified, defined terms in this Final Order and

 Judgment have the same definition as the terms in the Agreement.

        2.     The Settlement Agreement has been negotiated by competent and

 independent counsel at arms-length and falls within the range of possible approval as

 fair, reasonable and adequate.

        3.     The Notice provided was the best notice practicable under the

 circumstances and constitutes valid, due, and sufficient notice to all members of the

 Settlement Class, in full compliance with the requirements of the Rules of Civil

 Procedure, applicable sections of the United States Code, and the United States

 Constitutions and other applicable laws.

        4.     The Settlement was entered into in good faith, is fair, reasonable and

 adequate, and satisfies the standards and applicable requirements for final approval of

 this class action settlement.

        5.     The Parties adequately performed their obligations under the Agreement.

        6.     The Settlement Administrator provided notice to Settlement Class

 Members in compliance with Section 3.2 of the Agreement, the Rules of Civil

 Procedure, and the United States Constitution, and any other applicable law. The

 notice: (a) fully and accurately informed Settlement Class Members about the lawsuit


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 and Settlement; (b) provided sufficient information so that Settlement Class Members

 were able to decide whether to accept the benefits offered, opt out and pursue their

 own remedies, or object to the proposed Settlement; (c) provided procedures for

 Settlement Class Members to file written objections to the proposed Settlement, to

 appear at the hearing, and to state objections to the proposed Settlement; and (d)

 provided the time, date and place of the final fairness hearing. The Settlement

 Administrator provided notice to 131,757 Settlement Class             Members. Six (6)

 Settlement Class Members opted out of the Settlement Class, and zero (0) Settlement

 Class Members objected to the Settlement.

        7.      An award of $2,875,000.00, in attorneys’ fees and costs, equal to twenty-

 five percent (25%) of the Settlement Amount, along with reasonable litigation costs

 Class Counsel incurred related to their representation of the Class in the total amount

 of $34,037.87, to Settlement Class Counsel is fair and reasonable in light of the nature

 of this case, the experience and efforts of Class Counsel in prosecuting this Action, and

 the benefits obtained for the Class.

        8.      A service award to Named Plaintiffs of $10,000.00 each for a total of

 $30,000.00, is fair and reasonable in light of: (a) Named Plaintiffs’ risks in commencing

 this action as class representatives; (b) the time and effort spent by Named Plaintiffs in

 litigating this action as the class representatives; and (c) Named Plaintiffs’ public

 interest service.


 IT IS ORDERED THAT:

        1. Plaintiffs’ Motion for Attorneys’ Fees and Costs and Service Awards to Class

             Representatives, (Dkt. 199), is GRANTED.


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      2. Plaintiffs’ Motion for Final Approval of Settlement Agreement, (Dkt. 207), is

           GRANTED.

      3. The Parties’ Settlement Agreement, (Dkt. 207-1), is APPROVED.                 The

           Settlement Funds shall be distributed in accordance with the Settlement

           Agreement, except as otherwise directed in this Order.

      4.      Settlement Class Members. For Settlement purposes, the Settlement

           Class Members are defined as:

                     All natural persons who purchased a one-year pass through
                     SeaWorld’s “EZ Pay” program to one of SeaWorld’s theme
                     parks located in the states of Florida, Texas, Virginia, or
                     California; who were residents of the state where the park
                     is located at the time of purchase; who purchased the pass
                     within the Applicable Statute of Limitations Period for the
                     respective states (as defined herein); who paid for their one-
                     year pass in less than 12 months; and who were charged
                     any additional monthly payments for renewal of the pass
                     after the one-year pass was paid in full. Excluded from the
                     Settlement Class are (a) all persons who received full
                     refunds from SeaWorld after being charged any monthly
                     payments for renewal of the pass after the one year pass
                     was paid in full; (b) all persons who used their pass after the
                     initial one-year term; (c) managers, directors, and
                     employees of SeaWorld and members of their immediate
                     families; (d) all agents of SeaWorld; (e) legal counsel for
                     Plaintiffs or SeaWorld and members of their immediate
                     families; (f) all judges assigned to hear any aspect of this
                     litigation as well as their immediate family members; and (g)
                     any class members in the matter of Gargir v. SeaWorld
                     Parks & Entertainment, Inc., No 37-2015-00008175-CU-
                     MC-CTL, in the California Superior Court, San Diego
                     County (the Gargir Action) who have released and
                     discharged SeaWorld of any claims they may have in this
                     case as a result of a class action settlement approved in the
                     Gargir Action.

      5.      Binding Effect of Order. This Order applies to all claims or causes of

           action settled under the Agreement, and binds all Settlement Class Members,

           including those who did not properly opt out under Paragraph 5 of the
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               Preliminary Approval Order. (Dkt. 195) This Order does not bind persons who

               timely and validly opted out of the Settlement. Attached to this Order as Exhibit

               A is a list of persons who properly opted out of the Settlement.

          6.      Release. Named Plaintiffs and all Settlement Class Members who did not

               properly opt out are: (a) deemed to have released and discharged SeaWorld

               from all claims that were or reasonably could have been asserted based on the

               factual allegations in this Action; 1 and (b) barred and permanently enjoined

               from asserting, instituting, or prosecuting, either directly or indirectly, these

               claims. The full terms of the release described in this paragraph are set forth in

               Section 4.2 of the Settlement Agreement, which is incorporated into this Order

               by reference.

          7.     Class Relief. SeaWorld, through the Settlement Administrator, will issue a

               pro rata payment from the Net Settlement Common Fund for each Pass

               purchased by a Settlement Class Member within forty (40) calendar days

               after the Final Settlement Date, 2 pursuant to the terms and timeline set forth in




 1
    The Court deleted as duplicative the second clause of Paragraph (a) in the Parties’ Proposed
 Order Granting Plaintiff’s Motion For Final Approval. The only difference in the first clause of
 Paragraph (a), which was retained, and the second clause is the inclusion of the word “contained.”
 If the Parties feel that the deletion of this clause is improper, they shall notify the Court.
 2
     The term “Final Settlement Date” is defined as

          the earliest of the following: (1) thirty-five days after the entry of the Final Order
          and Approval if objections are filed and overruled, notice of entry of the order has
          been served, and no appeal is taken from the Final Order and Approval; or (2) if a
          timely appeal or motion for reconsideration is filed, thirty-five (35) days after the
          date of the final resolution of that appeal or motion and any subsequent appeals
          or petitions for review or certiorari from the Final Order and Approval, provided
          such appeals or reviews affirm Final Order and Approval.

 (Dkt. 207-1 § 1.7)
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              Section 2.2 of the Settlement Agreement. Class Members shall have ninety

              (90) days from the date the checks are disbursed to cash their checks.

        8.       Attorney’s Fees and Costs.         Settlement Class Counsel is awarded

              $2,875,000.00 in fees and $34,037.87, in costs. SeaWorld will remit payment

              to the Settlement Administrator, which will issue payment to Settlement Class

              Counsel within thirty (30) calendar days after the Final Settlement Date,

              pursuant to the timeline set forth in Section 2.7 of the Settlement Agreement.

        9.       Service Award. Named Plaintiffs are each awarded $10,000.00, as a

              service award for their efforts bringing and actively participating in the case.

              SeaWorld will remit payment to the Settlement Administrator, which will issue

              payment to Settlement Class Counsel on behalf of Named Plaintiffs within

              thirty (30) calendar days after the Final Settlement Date, pursuant to the

              timeline set forth in Section 2.6 of the Settlement Agreement.

        10.      Cy Pres Recipient. Any funds that were part of the EFTA Settlement

              Amount 3 and remain in the Net Settlement Common Fund one hundred and

              fifty (150) days after the payments were first mailed to Class Members, shall

              thereafter be paid as a donation within seven (7) days to the cy pres recipient:

                               National Fish and Wildlife Foundation
                               1133 15th St., NW # 1000
                               Washington, DC 20005




 3
   The “EFTA Settlement Amount” is defined as the $500,000.00 settlement amount given pro rata
 to those Settlement Class Members who used a debit card to fund their EZpay contract and were
 charged additional monthly payments for renewal of the pass after December 13, 2013. (Dkt.
 207-1 §§ 1.3 and 1.4)
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               a. No later than seven (7) days after the Defendant disburses the

                   remaining proceeds to the cy pres recipient, the Parties shall file their

                   joint stipulation of dismissal with prejudice concerning this matter.

      11.      Court’s Jurisdiction.       This Court retains exclusive and continuing

            jurisdiction over the case for purposes of supervising, implementing,

            interpreting and enforcing this Order and the Settlement Agreement, as may

            become necessary, until all of the terms of the Settlement Agreement have

            been fully carried out. Class Counsel shall notify the Court when this has

            occurred.

      12. This case is ADMINSTRATIVELY CLOSED pending receipt of a final

            stipulation of dismissal. The Parties have two hundred and forty (240) calendar

            days from the date of this Order to file a stipulation of dismissal or, if

            appropriate, a motion to reopen the case.        After the 240-day period, the

            dismissal shall be with prejudice without any further notice to the Parties.

      13. The Clerk is DIRECTED to terminate any pending motions in this case.

      14. The Clerk is further DIRECTED to send a copy of this Order to the cy pres

            recipient:

                             National Fish and Wildlife Foundation
                             1133 15th St., NW # 1000
                             Washington, DC 20005

      DONE and ORDERED in Tampa, Florida, this 29th day of April, 2019.




 Copies furnished to:
 Counsel of Record
 Any Unrepresented Person

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                                  EXHIBIT A


              ClaimID           FirstName            LastName

           SAH-100097308         JOANN              FORSYTHE
           SAH-100188826       JONATHAN              TOLEDO
           SAH-100374590        ROBERT                KEHN
           SAH-101079818       STEPHANIE            PORTALES
           SAH-101128886          BILLY              RATLIFF
           SAH-101134622           JON               RALSTON




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